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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF GEORGIA
                                 AUGUSTA DIVISION

                                                Chapter 11
 IN RE:
                                                Case No. 18-10274 (SDB)
 FIBRANT, LLC, et al.,
                                                (Jointly Administered)
                            Debtors.


 FIBRANT, LLC, EVERGREEN NYLON
 RECYCLING LLC, FIBRANT SOUTH CENTER,
 LLC, GEORGIA MONOMERS COMPANY, LLC,
 CHEMICAINVEST HOLDING, B.V., and
 AUGUSTA LIQUIDATIONS, LLC,

          Plaintiffs,

 v.

 ACE PROPERTY & CASUALTY INSURANCE
 COMPANY, a corporation, UNITED STATES FIRE
 INSURANCE COMPANY, a corporation,
 CENTURY INDEMNITY COMPANY, a
 corporation, ADMIRAL INSURANCE COMPANY,
 a corporation, MT. MCKINLEY INSURANCE          Adversary Proceeding
 COMPANY, a corporation, COLUMBIA
 CASUALTY COMPANY, a corporation,               No. 19-01016 (SDB)
 CONTINENTAL CASUALTY COMPANY, a
 corporation, THE CONTINENTAL INSURANCE
 COMPANY, a corporation, CERTAIN
 UNDERWRITERS AT LLOYD’S, LONDON, a
 corporation, CERTAIN LONDON MARKET
 COMPANIES, corporations, STARR INDEMNITY
 & LIABILITY COMPANY, a corporation,
 BERKSHIRE HATHAWAY SPECIALTY
 INSURANCE COMPANY, a corporation, FIRST
 STATE INSURANCE COMPANY, a corporation,
 ALBA GENERAL INSURANCE COMPANY
 LIMITED, a corporation, THE DOMINION
 INSURANCE COMPANY LIMITED, a corporation,
 EXCESS INS. CO. TO HFPI LTD., a corporation,
 ASSICURAZIONI GENERALI SPA, a corporation,
 HELVETIA ACCIDENT SWISS INSURANCE


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    COMPANY LIMITED, a corporation, LONDON
    AND EDINBURGH GENERAL INSURANCE
    COMPANY LIMITED, a corporation, RIVER
    THAMES INSURANCE COMPANY LIMITED, a
    corporation, STRONGHOLD INSURANCE
    COMPANY LIMITED, a corporation, HARPER
    INSURANCE LTD., a corporation, ARGONAUT
    NORTHWEST INSURANCE COMPANY, a
    corporation, DELTA-LLOYD NON-LIFE
    INSURANCE COMPANY LIMITED, a corporation,
    NATIONAL CASUALTY COMPANY, a
    corporation, NATIONAL CASUALTY COMPANY
    OF AMERICA LIMITED, a corporation,
    NATIONAL UNION FIRE INSURANCE
    COMPANY OF PITTSBURGH, PA, a corporation,
    LEXINGTON INSURANCE COMPANY, a
    corporation, THE NORTH RIVER INSURANCE
    COMPANY, a corporation, HOME INSURANCE
    COMPANY, a corporation, ALLSTATE
    INSURANCE, a corporation, PROTECTIVE
    NATIONAL INSURANCE COMPANY, a
    corporation, ZURICH INTERNATIONAL, a
    corporation, LIBERTY MUTUAL, a corporation,

          Defendants.




                                    JOINT STATUS REPORT

         This adversary proceeding is a declaratory judgment action in which the Plaintiffs seek a

determination regarding coverage under certain historic insurance policies, issued by the Insurer

Defendants,1 for funding of past and ongoing environmental liabilities. On October 3, 2019, the

parties filed a joint motion to stay this action pending the outcome of mediation between the

parties. On October 17, 2019, the Court ordered the action stayed. As part of the Court’s order,

the parties were required to file an initial joint status report on December 16, 2019, and



1
      As these terms are defined in the Joint Status Report filed March 19, 2020 (Dkt. 37) and the
      Complaint for Declaratory Judgment filed in the adversary proceeding (Dkt. 1).

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subsequent status reports each 90 days thereafter while the matter is stayed, pending further

order of the Court. As the Court is aware from prior updates, Plaintiffs and all Insurer

Defendants have successfully resolved this matter through mediation, with Plaintiffs and each

Insurer Defendant having agreed in principle to settle and reached concurrence on the form of

agreement, Plaintiffs and the Defendant Insurers jointly file this status report and report the

following.

         Since the last status report, the parties continue to work cooperatively to complete the

final documentation memorializing their settlements and presenting the Court with a proposal to

establish protective mechanisms to bar future claims against the insurers. Plaintiffs and the

Insurer Defendants will present that proposal to the Court as part of a joint submission that

would resolve the adversary proceeding. Although the documentation process has taken longer

than the parties initially expected, the parties still anticipate filing within the next 30 days (or

less).

         The parties respectfully submit this joint status report to the Court.



Date: March 29, 2023                            Respectfully submitted,

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                                                Steven Lesan*
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                                    Market Companies (The Edinburgh Assurance
                                    Company; World Auxiliary Insurance Company
                                    Limited; Accident & Casualty Insurance Company of
                                    Winterthur (No. 2A/C); Accident & Casualty
                                    Insurance Company of Winterthur (No. 3A/C); New
                                    London Reinsurance Company Limited; and The
                                    Scottish Lion Insurance Company Limited); Starr
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                                    Assicurazioni Generali Spa (Uk Branch); Helvetia
                                    Accident Swiss Insurance Company Limited;
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                                  CERTIFICATE OF SERVICE


       I hereby certify that I have on this day electronically file the foregoing JOINT STATUS

REPORT with the Clerk of the Court using the CM/ECF system, which will automatically send

electronic mail notification of such filing to all attorneys of record.


Date: March 29, 2023
                                               /s/ Brook B. Roberts

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